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MINUTE ENTRY
TERRY A. DOUGHTY
U.S. DISTRICT COURT JUDGE
May 2, 2025

                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF LOUISIANA
                        ALEXANDRIA DIVISION

VML ET AL                                     CIVIL ACTION NO. 25-cv-550

VERSUS                                        JUDGE TERRY A. DOUGHTY

MELLISSA B HARPER ET AL                       MAG. JUDGE PEREZ-MONTES



      The parties are directed to file their respective witness lists and exhibit lists

for the May 16 hearing by Friday, May 9, 2025.




                                        TAD
